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                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY


 IN: RE JOHNSON & JOHNSON TALCUM                    MDL DOCKET NO. 2738 (FLW) (LHG)
 POWDER PRODUCTS MARKETING,
                                                    JUDGE FREDA L. WOLFSON
 SALES PRACTICES AND PRODUCTS
 LIABILITY LITIGATION                               MAG. JUDGE LOIS H. GOODMAN
 THIS DOCMENT RELATES TO:
  Naila Faruqi v. Johnson and Johnson, et. al.      Civil Action No.: 3:17-cv-04033




                                      NOTICE OF FILING
        Notice is hereby given that pursuant to Case Management Order No. 3 (Filing of Short

 Form Complaints) that the Short Form Complaint and Jury demand has been filed on June 5,

 2017 on behalf of Naila Faruqi.




 Dated: June 8, 2017


                                                          Respectfully submitted by,
                                                          ANAPOL WEISS
                                                          /s/ Gregory S. Spizer, Esq.
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                                  CERTIFICATE OF SERVICE


        I hereby certify that on June 8, 2017, a copy of the foregoing NOTICE OF FILING was

 filed electronically. Notice of this filing will be sent by operation of the Court’s electronic filing

 system to all parties indicated on the electronic filing receipt. Parties may access this filing

 through the Court’s system.



                                                                /s/ Gregory S. Spizer, Esq.
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